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                                              UNITED STATES DISTRICT COURT
                                                  Southern District of Florida
                                                       Miami Division

                                       Case No.:

 WNC TRUST DATED NOVEMBER 14, 2012,

             Plaintiff,

 vs.

 TYLER COOPER
 a/k/a TYLER MARSHAL COOPER,

       Defendant.
 _______________________________________/

                                                                   COMPLAINT

             Plaintiff, WNC Trust Dated November 14, 2012 (“Plaintiff”), hereby sues Defendant,

 TYLER COOPER a/k/a TYLER MARSHAL COOPER (“Defendant”) for damages and

 attorneys’ fees, litigation expenses and costs.

                                                                 JURISDICTION

             1.          The Court has original jurisdiction over this action pursuant to 28 U.S.C. §1332.

                                                                       PARTIES

             2.          Plaintiff is a trust organized and existing under the laws of the State of Florida.

             3.          Defendant is a resident of the State of Colorado and is sui juris.

                                                                         FACTS

             4.          Defendant was the individual responsible for forming, and was the sole member and

 manager of, A2Z Welding, LLC., a Colorado limited liability company. Defendant also had

 complete control of the finances and financial decisions of A2Z Welding, LLC.

             5.          A2Z Welding, LLC is delinquent with the Secretary of State of Colorado, Division

 of Corporations, effective December 1, 2015.


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          6.          A2Z Welding, LLC was a steel subcontractor, responsible for providing and

 fabricating steel for Plaintiff’s construction project in Aspen, Colorado.

          7.          A2Z Welding, LLC invoiced Plaintiff, through its contractor Providence Builders,

 for $75,000 for steel column materials, and $5,000 for steel beam drawings. Plaintiff, through its

 contractor, paid the $80,000 total to A2Z Welding, LLC for the steel to be purchased and the

 drawings done as invoiced.

          8.          Additionally, Plaintiff, through its contractor, paid A2Z Welding, LLC $14,871.44

 for crane and hauling work done on Plaintiff’s Aspen project by Myers & Company.

                                          COLORADO TRUST FUND STATUTE

          9.          Colorado Revised Statute 38-22-127 provides that:

          (1) All funds disbursed to any . . . subcontractor under any building, construction, or
          remodeling contract or on any construction project shall be held in trust for the payment of
          the . . . laborer or material suppliers, or laborers who have furnished laborers, materials,
          services, or labor, who have a lien, or may have a lien, against the property, or who claim,
          or may claim, against a principal and surety under the provisions of this article and for which
          such disbursement was made.

          (2) This section shall not be construed so as to require any such . . . subcontractor to hold in
          trust any funds which have been disbursed to him or her for any subcontractor, laborer or
          material supplier, or laborer who claims a lien against the property or claims against a
          principal and surety who has furnished a bond under the provisions of this article if such .
          . . subcontractor has a good faith belief that such lien or claim is not valid or if such . . .
          subcontractor, in good faith, claims a setoff, to the extent of such setoff.
          ...

          (4) Every . . . subcontractor shall maintain separate records of account for each project or
          contract , but nothing contained in this section shall be construed as requiring a . . .
          subcontractor to deposit trust funds from a single project in a separate bank account solely
          for that project so long as trust funds are not expended in a manner prohibited by this section.

          (5) Any person who violates the provisions of subsections (1) and (2) of this section
          commits theft, as defined in section 18-4-401, C.R.S.

          10. Defendant, as the sole owner and member of A2Z Welding, LLC, breached the statutory

 trust relationship with Plaintiff by: (1) failing to order or purchase the steel materials with the

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 $75,000 advanced for that purpose, by failing to order, obtain or pay for the obtain the steel drawings

 with the $5,000.00 advanced for that purpose, and (3) failing to disburse to Myers & Company the

 $14,871.44 advanced to Defendant for crane and hauling work. Instead, Defendant, with the intent

 to defraud Plaintiff, knowingly and intentionally used Plaintiff’s funds with the intent to, and aware

 it would, deprive Plaintiff the use and benefit of its $94,871.44. Defendant has thus has committed

 theft under section 18-4-401, C.R.S.

              11.          Defendant has also failed to “maintain separate records” for Plaintiff’s project, as

 required by Colorado Revised Statute 38-22-127.

              12.          As such, under 18-4-405 Colorado Statutes Plaintiff is entitled to treble damages

 against Defendant, or $284,614.32 ($94,871.44 x 3), as well as costs and attorney fees.

              13.          Plaintiff first became aware of Defendant’s intentional failure to order the materials

 and drawings and intentional personal use of Defendant’s $80,000 in late-May, 2014, and

 Defendant’s intentional failure to pay Myers & Co., and use for his own benefit, the $14,871.44

 advanced for payment the crane and hauling work performed by Myers & Co. in July, 2014.

              WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against

 Defendant in favor of Plaintiff, granting Plaintiff damages in the sum of $284,614.32, plus all

 attorneys’ fees and costs incurred in this action.

                                                                               WILLIAM N. CHAROUHIS & ASSOCIATES, PA
                                                                               Attorneys for Plaintiff

                                                                               By:      s / William Nicholas Charouhis
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                                                                               Dated:     January 19, 2017
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